                              UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF MICHIGAN


IN RE:                                                                        CASE NO. 19-32465
           KENNETH STEPHEN LONG                                               CHAPTER 13
           S.S.# XXX-XX-7693                                                  JUDGE APPLEBAUM
                  Debtor                                                                       PLAN SUMMARY

                                                                                       For informational purposes only.
          POLLIANN FRANCES LONG
          S.S.# XXX-XX-3053                                                ACP: 36 Months
                 Joint-Debtor                                              Minimum Plan Length: 36 Months
                                                                           Plan payment: $195.00 per week
                                                                           Minimum dividend to Class 9 Creditors   $0.00
                                                                           Percentage of Tax Refunds committed 100% of excess
                     Debtors
__________________________________/



                                                   CHAPTER 13 PLAN

                      [ XXX] Original    OR        [ ] Pre-Confirmation Modification # _____

I.    NOTICES

TO CREDITORS: YOUR RIGHTS MAY BE AFFECTED BY THIS PLAN. THIS PLAN MAY BE CONFIRMED AND
BECOME BINDING WITHOUT FURTHER NOTICE OR HEARING UNLESS A TIMELY WRITTEN OBJECTION IS FILED.
READ THIS DOCUMENT CAREFULLY AND CONSIDER SEEKING THE ADVICE OF AN ATTORNEY.

     Debtor must check one box on each line to state whether or not the Plan includes each of the following items:

     A.        Nonstandard Provisions set out in Section IV. Under
          Federal Rule of Bankruptcy Procedure 3015(c), a
          “nonstandard provision” means a provision that is not
                                                                              ; Included           Not included
          otherwise included in the approved form for a Chapter 13
          Plan in the Eastern District of Michigan.


     B. A limit on the amount of a secured claim based on a
        valuation of the collateral for the claim.                             Included          ; Not included


     C.Avoidance of a security interest or lien.
                                                                               Included          ; Not included




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•      IF AN ITEM IS CHECKED AS “NOT INCLUDED” OR IF BOTH BOXES ARE CHECKED, THE PROVISION IS
VOID EVEN IF OTHERWISE INCLUDED IN THE PLAN.

•               ANY “NONSTANDARD PROVISION” THAT IS NOT SPECIFICALLY IDENTIFIED IN SECTION IV IS VOID.

•       IF THIS SECTION I INDICATES THAT THIS PLAN DOES NOT INCLUDE ANY “NONSTANDARD
PROVISIONS”, ANY “NONSTANDARD PROVISIONS” IN THIS PLAN (INCLUDING ANY OTHERWISE SPECIFICALLY
LISTED IN SECTION IV) ARE VOID.

THIS PLAN CONFORMS IN ALL RESPECTS TO THE MODEL PLAN, WHICH IS REFERENCED BY ADMINISTRATIVE
ORDER 17-04 ISSUED BY THE U.S. BANKRUPTCY COURT FOR THE EASTERN DISTRICT OF MICHIGAN. THOSE
SECTIONS OF THIS PLAN THAT VARY FROM THE MODEL PLAN ARE LISTED IN THIS PARAGRAPH (ANY
ALTERATIONS NOT STATED IN THIS SECTION ARE VOID): II(B), II(C), III(E), V(A), V(D), V(F) LEVEL 2, V(G), V(H),
V(X), V(Y), V(DD), ATTACHMENT 2




    THIS PLAN IS SUBJECT TO AND INCORPORATES BY REFERENCE THE ADDITIONAL STANDARD PROVISIONS
    WHICH MAY BE FOUND AT WWW.13EDM.COM OR WWW.MIEB.USCOURTS.GOV OR FROM DEBTOR’S COUNSEL
    UPON WRITTEN REQUEST.

    II.    APPLICABLE COMMITMENT PERIOD; PLAN PAYMENTS; PLAN LENGTH; EFFECTIVE DATE AND ELIGIBILITY
           FOR DISCHARGE:

           A.            □ Debtor’s Current Monthly Income exceeds the applicable State median income. Debtor’s Applicable
                Commitment Period is 60 months. Debtor’s Plan Length shall be 60 months from the date of entry of the Order
                Confirming Plan.

                           ; Debtor’s Current Monthly Income is less than or equal to the applicable State median income.
                Debtor’s Applicable Commitment Period is 36 months. Debtor’s Plan Length shall be 36 months from the date of
                entry of the Order Confirming Plan. This is a minimum Plan length. If the Plan has not been completed in the
                minimum Plan length, the Plan length shall be extended as necessary for completion of the requirements of the
                Plan; provided that in no event will the Plan term continue beyond 60 months from the date of entry of the Order
                Confirming Plan. See Paragraph J of the Additional Terms, Conditions and Provisions for additional information
                regarding Completion of Plan.

                If neither or both of the above boxes is checked, then the Applicable Commitment Period and the Plan Length
                shall be 60 months from the date of entry of the Order Confirming Plan.

           B. Debtor’s Plan payment amount is $195.00 per week.

           B.             Future Tax Refunds. See Paragraph A of the Additional Terms, Conditions and Provisions for additional
                information regarding Tax Refunds and Tax Returns.




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      FOR CASES ASSIGNED TO BAY CITY DIVISION: Check only one box. If none are checked or more than one
      box is checked, paragraph 2 shall apply:

      1.   □ Debtor’s Plan proposes a 100% dividend to unsecured creditors. Therefore, debtor is not required to remit
           any future Tax Refunds.

      2.   □ Debtor’s Plan proposes less than a 100% dividend to unsecured creditors and debtor’s Schedule I does
           not include a pro-ration for anticipated Tax Refunds. Debtor will remit 50% of all Federal and State Tax
           Refunds that debtor receives or is entitled to receive after commencement of the case.

      3.   □ Debtor’s Plan proposes less than a 100% dividend to unsecured creditors and debtor’s Schedule I includes
           a pro-ration for anticipated Federal Tax Refunds. Debtor will remit 100% of all Federal and State Tax
           Refunds that debtor receives or is entitled to receive after commencement of the case to the extent the
           Refund exceeds the sum of twelve times the amount of the Federal and State Tax Refund pro-ration shown
           in Schedule I.

      FOR CASES ASSIGNED TO DETROIT DIVISION: Check only one box. If none are checked or more than one
      box is checked, paragraph 2 shall apply:

      1.   □ Debtor’s Plan proposes a 100% dividend to unsecured creditors. Therefore, debtor is not required to remit
           any future Tax Refunds.

      2.   □ Debtor’s Plan proposes less than a 100% dividend to unsecured creditors and debtor’s Schedule I does
           not include a pro-ration for anticipated Tax Refunds. Debtor will remit 100% of all Federal Tax Refunds that
           debtor receives or is entitled to receive after commencement of the case.

      3.   □ Debtor’s Plan proposes less than a 100% dividend to unsecured creditors and debtor’s Schedule I
           includes a pro-ration for anticipated Federal Tax Refunds. Debtor will remit 100% of all Federal Tax Refunds
           that debtor receives or is entitled to receive after commencement of the case to the extent the Refund
           exceeds the sum of twelve times the amount of the Federal Tax Refund pro-ration shown in Schedule I.


      FOR CASES ASSIGNED TO FLINT DIVISION: Check only one box. If none are checked or more than one box
         is checked, paragraph 2 shall apply:

      1.   □ Debtor’s Plan proposes a 100% dividend to unsecured creditors. Therefore, debtor is not required to remit
           any future Tax Refunds.

      2.   □ Debtor’s Plan proposes less than a 100% dividend to unsecured creditors and debtor’s Schedule I does
           not include a pro-ration for anticipated Tax Refunds. Debtor will remit 100% of all Federal Tax Refunds that
           debtor receives or is entitled to receive after commencement of the case.

      3.   ; Debtor’s Plan proposes less than a 100% dividend to unsecured creditors and debtor’s Schedule I
           includes a pro-ration for anticipated Federal Tax Refunds. Debtor is required to remit Federal Tax Refunds
           in excess of the amount of the proration shown on Schedule I.

 D. □ If the box to the immediate left is "checked", the debtor acknowledges that debtor is not eligible for a discharge
    pursuant to 11 USC §1328.
    □ If the box to the immediate left is "checked", the joint debtor acknowledges that joint debtor is not eligible for a
    discharge pursuant to 11 USC §1328.

 E.   □ If the box to the immediate left is "checked", the debtor or joint debtor is self-employed AND incurs trade credit
      in the production of income from such employment. Debtor shall comply with the requirements of Title 11, United
      States Code, and all applicable Local Bankruptcy Rules regarding operation of the business and duties imposed
      upon the debtor.




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III. DESIGNATION AND TREATMENT OF CLASSES OF CLAIMS: See Paragraph F of the Additional Terms, Conditions
     and Provisions for additional information regarding the order in which claims are to be paid.

    A. CLASS ONE – TRUSTEE FEES as determined by statute.

    B. CLASS TWO – ADMINISTRATIVE CLAIMS, INCLUDING ATTORNEYS FEES AND COSTS:

        1. PRE-CONFIRMATION ATTORNEY FEES: At confirmation of the Plan, Counsel shall elect to either:
            a. In lieu of filing a separate fee application pursuant to 11 USC §327 and §330, accept the sum of $
               for services rendered plus $_____ for costs advanced by Counsel, for total Attorney Fees and Costs of
               $______ through the Effective Date of the Plan. The total Attorney Fees and Costs less the sum paid to
               Counsel prior to the commencement of this case as reflected in the Rule 2016(b) Statement leaving a
               net balance due of $________, will be paid as an Administrative Expense Claim; or

             b.   Request an award of compensation for services rendered and recovery of costs advanced by filing a
                  separate Application for Compensation for services rendered up through the date of entry of the Order
                  Confirming Plan pursuant to 11 USC §327 and §330. If Counsel elects to file a fee application pursuant
                  to this sub-paragraph, the Trustee shall escrow $3,000.00 for this purpose. See Paragraph B of the
                  Additional Terms, Conditions and Provisions for additional information.

        2.   POST-CONFIRMATION ATTORNEY FEES: See Paragraph D of the Additional Terms, Conditions and
             Provisions for additional information.

        3.   RETENTION OF OTHER PROFESSIONALS FOR POST-PETITION SERVICES: Debtor □ has retained or
             □ intends to retain the services of N/A (name of person to be retained) as N/A (capacity or purpose for
             retention) to perform professional services post-petition with fees and expenses of the professional to be paid
             as an Administrative Expense. See Paragraph C of the Additional Terms, Conditions and Provisions for
             additional information.

        4.   OTHER ADMINISTRATIVE EXPENSE CLAIMS: Any administrative expense claims approved by Order of
             Court pursuant to 11 USC §503 shall be paid as a Class Two administrative claim. See Paragraph E of the
             Additional Terms, Conditions and Provisions for additional information.
                  a. Court officer – Statutory Execution Fees $500.00

    C. CLASS THREE – SECURED CLAIMS TO BE STRIPPED OR AVOIDED FROM THE COLLATERAL AND
       TREATED AS UNSECURED CLAIMS TO BE PAID BY TRUSTEE. See Paragraph G and Paragraph N of the
       Additional Terms, Conditions and Provisions for additional information.

        Class 3.1 Liens to be Stripped. 11 USC §506(a).

                  Creditor                                                                   Collateral

 N/A




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      Class 3.2 Judicial Liens and Non-Possessory, Non-Purchase Money Liens to be Avoided. 11 USC
                §522(f).

                     Creditor                                                       Collateral


N/A




  D. CLASS FOUR - SECURED CLAIMS ON WHICH THE LAST CONTRACTUAL PAYMENT IS DUE BEYOND THE
     LENGTH OF THE PLAN. 11 USC §1322(b)(5).

      Class 4.1 Continuing Payments on a claim secured by the debtor’s principal residence that come due on
                and after the date of the Order for Relief. (See Paragraph P, Paragraph L and Paragraph EE of the
                Additional Terms, Conditions and Provisions for additional information).

          Creditor                                  Collateral                     Monthly Payment         Direct or Via Trustee

N/A




      Class 4.2 Pre-Petition Arrearages on a claim secured by the debtor’s principal residence to be paid by
                Trustee: Those amounts which were due as of the filing of the Order for Relief:

                                                                                                            Months to Cure From
                                                                                     Estimated Average       Confirmation Date
        Creditor                       Collateral                Arrears Amount       Monthly Payment

N/A




      Class 4.3 Continuing Payments other than on a claim secured by the debtor’s principal residence that
                come due on and after the date of the Order for Relief. (See Paragraph P, Paragraph L and
                Paragraph EE of the Additional Terms, Conditions and Provisions for additional information).

          Creditor                                  Collateral                     Monthly Payment         Direct or Via Trustee

N/A




                                                       5
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          Class 4.4 Pre-Petition Arrearages other than on a claim secured by the debtor’s principal residence to be
                    paid by Trustee: Those amounts which were due as of the filing of the Order for Relief:

                                                                                                                    Months to Cure From
                                                                                            Estimated Average        Confirmation Date
            Creditor                        Collateral                  Arrears Amount       Monthly Payment

 N/A




    E.    CLASS FIVE - SECURED CLAIMS ON WHICH THE LAST PAYMENT WILL BECOME DUE WITHIN THE PLAN
          DURATION. (See Paragraph H, Paragraph L, Paragraph O and Paragraph S of the Additional Terms, Conditions
          and Provisions for additional information).

          Class 5.1 Secured Claims not excluded from 11 USC §506 to be paid Equal Monthly Payments.
                11 USC §1325(a)(5)(B):


                                                       Interest
                                                         rate                                   Total to
                                      Indicate if     (Present                                  be paid
                                    “crammed” or        Value         Monthly   Market         Including    Direct or Via
         Creditor/Collateral           modified         Rate)         Payment   Value           Interest    Trustee

 ELGA Credit
 Union/2014 Chevrolet                                                                                       **Direct &
 Malibu                            N/A                N/A            $225.00    $6,000.00      N/A          Current
**Note: Debt is current and shall be paid by debtors’ adult daughter who is the exclusive driver and an additional
insured driver of subject vehicle
*** See debtor’s Schedule A/B for more information about values.

           Class 5.2 Secured Claims not excluded from 11 USC §506 not to be paid Equal Monthly Payments.

                       11 USC §1325(a)(5)(B):

                                                          Interest
                                                            rate
                                        Indicate if      (Preset
                                     “crammed “ or       Value        Monthly      Market       Total to be paid   Direct or
         Creditor/Collateral             modified        Rate)        Payment      Value       Including Interest Via Trustee

 ELGA Credit
 Union/2011 Cadillac
 SRX                                Modified             6.5%         $210.47 $6,867.00        $7,577.00           Trustee
 ELGA Credit
 Union/2011 Dodge
 Ram                                Modified             6.5%         $345.54 $11,274.00       $12,440.00          Trustee
*** See debtor’s Schedule A/B for more information about values.




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          Class 5.3 Secured claims excluded from 11 USC §506 by the “hanging paragraph” at the end of

                                                                 Interest
                                                                   rate
                                                                (Preset
                                             Indicate if        Value       Monthly       Market        Total to be paid         Direct or Via
             Creditor/Collateral              modified          Rate)       Payment       Value        Including Interest          Trustee

      N/A




                11 USC §1325 (a)(9) to be paid “Equal Monthly Payments”. 11 USC §1325(a)(5)(B).



          Class 5.4 Secured claims excluded from 11 USC §506 by the “hanging paragraph” at the end of
                11 USC §1325 (a)(9) not to be paid Equal Monthly Payments. 11 USC §1325(a)(5)(B).


                                                            Interest
                                                              rate
                                                           (Preset
                                        Indicate if        Value         Monthly        Market      Total to be paid        Direct or Via
        Creditor/Collateral              modified          Rate)         Payment        Value      Including Interest         Trustee

 N/A




          CLASS 5.5 Surrender of collateral. (See Paragraph P of the Additional Terms, Conditions and Provisions for
                    additional information).

The debtor surrenders debtor’s interest in the following collateral. Any allowed unsecured claim remaining after disposition
of the collateral will be treated as a Class 9 General Unsecured Creditor.

                  Creditor Name                                                       Description of Collateral

 Westgate Resorts                                     Timeshare
  ELGA Credit Union                                   2007 Chevrolet Monte Carlo




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 F.   CLASS SIX – EXECUTORY CONTRACTS AND/OR UNEXPIRED LEASES. 11 USC §§365, 1322(b)(7): Debtor
      assumes the executory contracts and unexpired leases listed in subparagraph 1. (See Paragraph K of the
      Additional Terms, Conditions and Provisions for additional information).

      Class 6.1 Continuing Lease/Contract Payments:

                                                                             Monthly        Lease/Contract           Direct or
           Creditor                              Property                    Payment        expiration date         Via Trustee



N/A


      Class 6.2 Pre-petition Arrearages on Assumed Executory Contracts and Leases (to be paid by Trustee):

                                                                                                                 Months to
                                                                                                                 Cure From
                                                                                       Estimated Average      Confirmation Date
         Creditor                          Property                Arrears Amount       Monthly Payment

N/A




      Class 6.3 Debtor rejects the executory contracts and unexpired leases listed in this subparagraph 3. Any
                unexpired lease or executory contract that is neither expressly assumed in Class 6.1 above or
                expressly rejected below shall be deemed rejected as of the date of confirmation of debtor’s
                chapter 13 Plan to the same extent as if that unexpired lease or executory contract was listed
                below. (See Paragraph K of the Additional Terms, Conditions and Provisions for additional
                information):

           Creditor                                                         Property

N/A




      G. CLASS SEVEN – PRIORITY UNSECURED CLAIMS. 11 USC §§507, 1322(a)(2).

      Class 7.1 Domestic Support Obligations: Continuing Payments that come due on and after the date of
                the Order for Relief:

                       Creditor                               Monthly Payment                   Direct or Via Trustee

N/A




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         Class 7.2             Domestic Support Obligations: Pre-Petition Arrearages due as of the filing of the Order
                               for Relief:



                                                                                           Estimated Average Monthly             Direct or Via
                         Creditor                                 Arrears Amount                   Payment                         Trustee

  N/A




         Class 7.3 All Other Priority Unsecured Claims [11 USC §1322(a)(2)]

                    Creditor                                       Amount                                     Direct or via Trustee

 2017 State of MI Income Tax                   $1,015.00                                        Trustee
 2018 State of MI Use Tax                       $938.00                                         Trustee



H.        CLASS EIGHT – SEPARATELY CLASSIFIED UNSECURED CLAIMS. 11 USC §1322(b)(1): (To be paid by
Trustee): (See Paragraph M of the Additional Terms, Conditions and Provisions for additional information):

                                                Interest
             Creditor               Amount        Rate                                Reason for Special Treatment




    I.                  CLASS NINE - GENERAL UNSECURED CLAIMS (to be paid by Trustee): – See Paragraph N of the
         Additional Terms, Conditions and Provisions for additional information.

         ☑ This Plan shall provide a total sum for distribution to creditors holding Class 9 General Unsecured claims in
           an amount that is not less than the Amount Available in Chapter 7 shown on Attachment 1, Liquidation
           Analysis and Statement of Value of Encumbered Property (the “Unsecured Base Amount”). This Plan shall
           provide either (i) the Unsecured Base Amount; or (ii) will continue for the full Plan Length as indicated in
           Paragraph II.A of this Plan, whichever yields the greater payment to Class 9 Unsecured Creditors. See
           Attachment 2, Chapter 13 Model Worksheet, Line 8, for additional information concerning funds estimated to
           be available for payment to Class 9 Unsecured Creditors.

         □      This Plan shall provide a dividend to holders of Class 9 General Unsecured Claims equal to 100% of allowed
                claims.

         If neither box is checked or if both boxes are checked, then the Plan shall pay the Unsecured Base Amount.

                □ If the box to the immediate left is "checked", creditors holding claims in Class Seven, Eight and Nine shall
                receive interest on their allowed claims at the rate of ____% per annum as required by 11 USC §1325(a)(4).


IV. Nonstandard Plan Provisions:



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         •ANY “NONSTANDARD PROVISION” THAT IS NOT BOTH INCLUDED IN SECTION 1.A AND
                SPECIFICALLY STATED IN THIS SECTION IS VOID.


         A.   Change to Section II(B) allows for weekly, bi-weekly, semi-monthly or monthly plan payment options.

         B. Change to Section II(C) adds fourth option of offering 0% tax refunds during the pendency of the plan.

    C.            Change to Section III(E) sections 5.1 through 5.4 adds two columns “Total of claim to be paid” and
         “Market Value.”


    D.              Change to Section V(A) adds language “unless Otherwise directed by Order of the Court” at the end of
         the first paragraph.


    E.              Changes to Section V(D) deletes the language starting with “upon entry of . . .” through “. . .the parties
         of interest.”


    F.              Changes to Section V(F) add the language to Level 2: due after confirmation Pursuant to Class 5.1
         (E.1), 5.3 (E.3) and 6.1 (F.1) – See V (H).”


    G.             Changes to Section V(H) adds language before and after the first sentence: Nothwithstanding the
         provisions of L.B.R. 4001-5 (EDM) and “…each disbursement; after confirmation of the Plan.”


    H.             Changes to Section V(S) adds language to paragraph (1): “Subject to Section V(H)”; adds language to
         the end of paragraph 1 and 3: “See also Paragraph G of the Additional Terms, Conditions and Provisions for
         additional information concerning payments to be made on these claims.”


    I.             Changes to Section V(U) changes the cure date to 10 days business days.


    J.             Changes to Section V(X) deletes: “will be determined as if the Petition was filed on the date of
         conversion. The date of the Order converting this case to one under Chapter 7 will be treated as the date of the
         Order For Relief and all applicable deadlines shall be determined as if the post-conversion Meeting of Creditors
         pursuant to 11 USC §341 was the initial Meeting of Creditors” and adds: “will be determined pursuant to 11
         U.S.C.§1307 and 11 U.S.C.§348, and F.R.Bank.P. 1019.”


    K.             Changes to Section V(Y) adds the language at the end of the section: “unless otherwise ordered by the
         Court.”


    L.             Changes to Section V(DD) adds the language: “This provision will not serve as res judicata or collateral
         estoppel as it relates to the Debtors rights to sever the case after confirmation of the Plan, by motion, notice and
         hearing to the Court.”


    M.             Attachment 2 (Worksheet) changes are an additional line for Estimated Pre-Confirmation payments and
         other.

 I, William R. Orlow, Attorney for debtor (or debtor if not represented by an attorney), certify that this Plan contains
no “Nonstandard Provisions” other than those set out in Section IV above.


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/s/ WILLIAM R. ORLOW                                            /S/ KENNETH STEPHEN LONG

B.O.C. Law Group, PC                                            Debtor – KENNETH STEPHEN LONG
BY: WILLIAM R. ORLOW (P41634)
Attorney for Debtor

24100 Woodward Avenue, Suite B
Street Address

Pleasant Ridge, Michigan 48069                                  /S/ POLLIANN FRANCES LONG
City, State and Zip Code
                                                                Joint Debtor – POLLIANN FRANCES LONG

bocecf@boclaw.com
E-Mail Address

248-584-2100

Phone Number                                                    Date – October 29, 2019




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                                                  ATTACHMENT 1

                    LIQUIDATION ANALYSIS AND STATEMENT OF VALUE OF ENCUMBERED PROPERTY:


                                                                   DEBTOR'S
                                   FAIR MARKET                     SHARE OF     EXEMPT      NON-EXEMPT
     TYPE OF PROPERTY                 VALUE        LIENS            EQUITY      AMOUNT        AMOUNT

   PERSONAL RESIDENCE              N/A           N/A             N/A          N/A          N/A


 REAL ESTATE OTHER THAN
   PERSONAL RESIDENCE              N/A           N/A             N/A          N/A          N/A



  HHG/PERSONAL EFFECTS             $11,900.00 $0.00              $11,900.00   $11,900.00   $0.00


          JEWELRY                  $500.00       $0.00           $500.00      $500.00      $0.00



   CASH/BANK ACCOUNTS
           Cash
                                   $500.00       $0.00           $500.00      $500.00      $0.00
   ELGA CU Checking 7001           $50.00        $0.00           $50.00       $50.00       $0.00
    ELGA CU Savings 7001           $50.00        $0.00           $50.00       $50.00       $0.00
   ELGA CU Checking 0051           $50.00        $0.00           $50.00       $50.00       $0.00
    ELGA CU Savings 0051           $25.00        $0.00           $25.00       $25.00       $0.00
   ELGA CU Checking 0050
    ELGA CU Savings 0050
                                   $50.00        $0.00           $50.00       $50.00       $0.00
                                   $25.00        $0.00           $25.00       $25.00       $0.00



          VEHICLES
      2011 Cadillac SRX            $6,867.00     $6,867.00       $0.00        $0.00        $0.00
       2011 Dodge Ram              $11,274.00    $11,274.00      $0.00        $0.00        $0.00
    2014 Chevrolet Malibu          $6,000.00     $6,000.00       $0.00        $0.00        $0.00
    2002 Chevrolet Camero          $5,344.00     $0.00           $5,344.00    $5,344.00    $0.00
  2007 Chevrolet Monte Carlo
                                   $2,593.00     $7,457.00       $0.00        $0.00        $0.00
   2009 Kawasaki ZX1400C
                                   $3,500.00     $0.00           $3,500.00    $3,500.00    $0.00

        OTHER (itemize)
Right to receive Monthly Social
       Security Benefits           $1,883.70     $0.00           $1,883.70    $1,883.70    $0.00
Gross: $1,883.70; Net: $1,748.00




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         OTHER (itemize)
State Farm Auto Accident claim for
vehicle accident that happened on Unknown                            $0.00                    $Unknown                     $8,681.00                 $Unknown
             9/1/2015.

       OTHER (itemize)
                                          N/A                        N/A                      N/A                          N/A                       N/A




                  Amount available upon liquidation........                                                                                    $
                                                                                                                                                    0.00

                 Less administrative expenses and costs ........................................................................ $
                                                                                                                                                    0.00

                 Less priority claims ......................................................................................................... $
                                                                                                                                                    1,953.00

                 Amount Available in Chapter 7 ....................................................................................... $
                                                                                                                                                    0.00




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                                                         ATTACHMENT 2

                                           CHAPTER 13 MODEL WORKSHEET
                                       LOCAL BANKRUPTCY RULE 3015-1(B)(2) E.D.M.

1.         Proposed length of Plan:       36 months

2.         Initial Plan payment:
           $195.00 per Week x 156 weeks =                                   $30,420.00    (subtotal)

           Step payment #1
           $__________ per month x ________ months =                        $_________    (subtotal)

           Step payment #2
           $__________ per month x ________ months =                        $_________    (subtotal)

3.         Additional payments: $_______ per _______=                       $________     (subtotal)

4.         Lump sum payments                                     =          $_________    (subtotal)

5.         Estimated Pre-Confirmation Payments                   =          $1,950.00     (subtotal)

6.         Total to be paid into Plan (total of lines 2 through 4)         $32,370.00

7.         Estimated disbursements other than to Class 9 General Unsecured Creditors

      a.   Estimated Trustee Fees                                            $2,447.00

      b.   Estimated Attorney Fees and costs
           through confirmation of Plan                                      $3,000.00

      c.   Estimated Attorney Fees and costs
           post-confirmation through duration of Plan                        $2,500.00

      d.   Other Administrative Expenses                                     $500.00

      e.   Total mortgage and other
           continuing secured debt payments                                  $0.00___

      f.   Total non-continuing secured
           debt payments (including interest)                                $21,970.00

      g.   Total priority claims                                             $1,953.00

      h.   Total arrearage claims                                            $0.00___

      i.   Other__________                                                   $0.00___

8.         Total disbursements other than to Class 9 General Unsecured Creditors
           (Total of lines 6.a through 6.h)                                               $32,370.00

9.         Funds estimated to be available for Class 9 General Unsecured Creditors
           (Line 5 minus Line 7)                                                          $0.00___

10.   Estimated dividend to Class 9 General Unsecured Creditors
      in Chapter 7 proceeding (see Liquidation Analysis)                                  $0.00___
Comments:


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                                   V. ADDITIONAL STANDARD PROVISIONS

                      THE FOLLOWING STANDARD PROVISIONS ARE APPLICABLE TO
                                                 ALL
                     PLANS AND PRE-CONFIRMATION MODIFIED PLANS FILED ON OR
                     AFTER DECEMBER 1, 2017, IN THE UNITED STATES BANKRUPTCY
                           COURT FOR THE EASTERN DISTRICT OF MICHIGAN


A.   DEBTOR’S OBLIGATION TO REMIT TAX REFUNDS:                              Debtor shall not alter any withholding
     deductions/exemptions without Court approval. If the Internal Revenue Service or any State taxing authority
     remits to the Trustee any sum which the debtor is not required to remit pursuant to this Plan, then upon written
     request of the debtor and concurrence of the Trustee, the Trustee shall be authorized to refund those sums to the
     debtor from funds first available without further motion, notice or Order of Court. The Trustee shall not be required
     to recoup or recover funds disbursed to creditors prior to receipt of the debtor’s written request; unless otherwise
     directed by Order of the Court.
     If debtor is married and debtor’s spouse is not a joint-debtor in this case, debtor’s Tax Refund(s) for any calendar
     year shall be 50% of the aggregate net Tax Refunds received by debtor and debtor’s non-filing spouse, regardless
     of whether debtor and spouse file a joint tax return or file separate tax returns.
B.   ALLOWANCE AND PAYMENT OF PRE-CONFIRMATION ATTORNEY FEES: If Class 2.1 of the Plan indicates
     that Counsel intends to file a Separate Application for compensation for services rendered up through the date of
     entry of the Order Confirming Plan pursuant to 11 USC §327 and §330, the Trustee shall withhold the amount
     designated in Class 2.1 from funds remaining after payment of claims required to be paid prior to attorney fees
     pending further Order of Court.
C.   RETENTION AND COMPENSATION OF OTHER PROFESSIONALS FOR POST-PETITION PRE-
     CONFIRMATION SERVICES: If Class 2.3 indicates that debtor has retained or intends to retain the services of
     any Professional (as that term is defined in 11 USC §327) to perform professional services after the
     commencement of this case, debtor will file a timely Application to Employ Professional Person stating the identity
     of the person to be retained and the capacity or purpose for retention, accompanied by a Certification of
     Disinterestedness signed by the Professional and obtain Court permission to retain the Professional. The
     Professional may seek compensation in an amount not to exceed $400.00 by filing a Proof of Claim designated as
     an Administrative Expense without further notice, hearing or Order of Court. If the Professional seeks
     compensation in excess of $400.00, the Professional shall file an Application for Compensation for services
     rendered pursuant to 11 USC §327.
D.   POST-CONFIRMATION ATTORNEY FEES & COSTS BY SEPARATE APPLICATION: Counsel reserves the
     right to file Applications for compensation for services rendered subsequent to the Confirmation of this Plan.


E.   PAYMENT OF ADMINISTRATIVE EXPENSE CLAIMS: Administrative Expense Claims as defined in 11 USC
     §503, other than those claims provided for in Paragraphs B, C and D of these Additional Terms, Conditions and
     Provisions, will be deemed allowed and will be paid only upon entry of a specific Order of this Court determining
     the allowance and amount of that claim.
F.   ORDER OF PAYMENT OF CLAIMS: All claims for which this Plan proposes payment through the Trustee shall
     be paid in the following order to the extent that funds are available:
               Level 1:   Class 1
               Level 2: Class 5.1, 5.3 and 6.1 after confirmation Pursuant to Class 5.1 (E.1), 5.3 (E.3) and 6.1 (F.1) –
                        See V (H).
               Level 3:   Class 2.1 and 2.3
               Level 4:   Class 2.2 and 2.4
               Level 5:   Classes 4.1 and 4.3
               Level 6:   Classes 4.2, 4.4, 5.2, 5.4 and 6.2
               Level 7:   Class 7
               Level 8:   Classes 3.1, 3.2, 5.5, 6.3, 8 and 9.



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         Each level shall be paid as provided in this Plan before any disbursements are made to any subordinate class. If
         there are not sufficient funds to pay all claims within a level, then the claims in that level shall be paid pro rata.
G.       SECURED CLAIMS TO BE STRIPPED OR AVOIDED FROM THE COLLATERAL AND TREATED AS
         UNSECURED: Claims for which the creditor holds a lien that is listed as “Stripped” in Class 3.1 or “Avoided” in
         Class 3.2 are avoided and will be paid as a General Unsecured Creditor as provided in Class 9 of the Plan. Upon
         completion of the Plan, the creditor will record a Satisfaction of the Lien in the applicable Public Records to
         discharge and release the lien. If the creditor fails to do so, the debtor may file a motion for an order declaring that
         the lien has been satisfied by completion of the confirmed Plan, which the debtor may then have certified and
         recorded in the applicable Public Records.
H.       CLASS 5.1, CLASS 5.3 AND CLASS 6.1 CREDITORS SPECIFIED TO RECEIVE EQUAL MONTHLY :
         Notwithstanding the provisions of L.B.R. 4001-5 (EDM) Creditors identified in Class 5.1, Class 5.3, and Class
         6.1 will receive Equal Monthly Payments to the extent funds are available at the date of each disbursement; after
         confirmation of the Plan. If more than one creditor is scheduled in Class 5.1, Class 5.3, and Class 6.1 and the
         funds available in any disbursement are insufficient to pay the full Equal Monthly Payments to all of the listed
         creditors, payments shall be made on a pro rata basis determined by the ratio of the Equal Monthly Payment
         specified to each creditor to the total amount of Equal Monthly Payments to all creditors scheduled in Class 5.1,
         Class 5.3, and Class 6.1. The amount of the Equal Monthly Payment to any creditor shall be the amount stated in
         Class 5.1, Class 5.3, and Class 6.1 as may be applicable and the amount of the Equal Monthly Payment specified
         in the Plan will supersede any monthly payment amount specified in a Proof of Claim at variance with the Equal
         Monthly Payment amount set forth in the Plan unless otherwise Ordered by the Court.
         The monthly post-confirmation disbursement to any creditor designated in Class 5.1, Class 5.3, and Class 6.1 will
         not exceed the Equal Monthly Payment amount for that creditor for the month in which disbursement is being
         made plus any previously unpaid Equal Monthly Payments accruing before the date of disbursement.
I.       APPLICATION OF DISBURSEMENTS BY CREDITORS: Creditors shall apply all disbursements under the Plan
         only in the manner consistent with the terms of the Plan and to the account(s) or obligation(s) as designated on
         the voucher or check provided to the Creditor with each disbursement.
J.       COMPLETION OF PLAN: For purposes of 11 USC §1328, the debtor shall be deemed to have completed all
         payments under the Plan:
              1.   Upon the expiration of the Plan Length as defined in Paragraph II.A of the Plan commencing on the date
                   of entry of the Order Confirming Plan; and
              2.   Debtor has remitted all Plan payments (as defined in Paragraph II.A and II.B of the Plan) coming due
                   after the date of entry of the Order Confirming Plan; and
              3.   Debtor has remitted all Federal Income Tax Refunds as required by Paragraph II.C of the Plan and
                   Paragraph A of these Additional Terms, Conditions and Provisions; and
              4.   Debtor has remitted a sum sufficient to pay all allowed claims as amended and/or supplemented as
                   provided in the Plan.
K.       EXECUTORY CONTRACTS AND/OR UNEXPIRED LEASES:
              1.   Any executory contract or unexpired lease not expressly assumed in Class 6.1 or in the Order
                   Confirming Plan shall be deemed rejected effective as of the Effective Date of this Plan.
              2.   Upon rejection of any Executory Contract or Unexpired Lease, the property and debtor’s interest in the
                   rejected executory contract or unexpired lease will no longer be property of the estate and the stay
                   under 11 USC §362(a) and the co-debtor stay under 11 USC §1301 shall automatically terminate as to
                   such property. Any claims arising from the rejection of an executory contract or unexpired lease shall
                   be treated as a general unsecured claim in Class Nine, subject to further Order of Court.
              3.   For all assumed executory contracts and unexpired leases, confirmation of this Plan shall constitute a
                   finding that this Plan complies with all requirements for assumption of the executory contracts and
                   unexpired leases being assumed, including all requirements set forth in 11 USC §365(b).
              4.   Upon the termination of the Lease (whether as a result of the expiration of the contractual lease term,
                   repossession of the property which is the subject of the Lease, or otherwise), the Lessor shall have the



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               right to file a Supplemental Claim for any damages or charges permitted under or pursuant to the Lease.
          5.   If Class 6.1 provides for the Continuing Lease/Contract Payments to be made by the Trustee, the
               Supplemental Claim as filed and allowed shall be paid by the Trustee over the remaining term of the
               Plan.
          6.   If Class 6.1 provides for the Continuing Lease Payments to be made directly by the debtor to the
               Lessor, the Supplemental Claim as filed and allowed shall be paid directly by the debtor to the creditor
               over the remaining term of the Plan. If there is a balance outstanding on the supplemental claim as of
               the completion of debtor’s confirmed Chapter 13 Plan, this balance shall not prevent or preclude the
               entry of a discharge in this case; instead, this balance shall be deemed non-dischargeable and debtor
               shall be responsible for payment of the remaining balance of the Supplemental Claim following the entry
               of a Discharge.
L.   SECURED CLAIMS – POST-PETITION FEES, COSTS AND CHARGES:
          1.   Any Supplement to Claim that is filed with the Court as to which there is no objection filed or as to which
               any objection has been overruled, shall be deemed allowed.
          2.   If Class 4.1, 4.3, 5.1, 5.2, 5.3 or 5.4 provides for the Creditor’s Secured Claim to be paid by the Trustee,
               the Supplement to Claim as filed and allowed shall be paid by the Trustee over the remaining term of
               the Plan.
          3.   If Class 4.1, 4.3, 5.1, 5.2, 5.3 or 5.4 provides for the Creditor’s Secured Claim to be paid directly by the
               debtor to the creditor, the Supplement to Claim as filed and allowed shall be paid directly by the debtor
               to the creditor before completion of the Plan. If there is a balance outstanding on the Supplement to
               Claim as of the completion of debtor’s confirmed Chapter 13 Plan, this balance shall not prevent or
               preclude the entry of a discharge in this case; instead, any unpaid balance shall be non-dischargeable.
M.   SEPARATELY CLASSIFIED UNSECURED CLAIMS: Claims classified as “Separately Classified Unsecured
     Claims” are unsecured claims that qualify for discriminatory and preferred treatment pursuant to 11 USC
     §1322(b)(1). The basis for separate classification is specified in Paragraph III.H of the Plan. Each Separately
     Classified Unsecured Claims shall receive payments that total 100% of the allowed amount of the claim plus
     interest if specified in Class Eight of the Plan. See also Paragraph F of the Additional Terms, Conditions and
     Provisions for additional information concerning the timing of payments to be made on these claims.
N.   GENERAL UNSECURED CREDITORS: Unless Class 9 of the Plan provides a dividend to holders of General
     Unsecured Claims equal to 100% of allowed claims, the Plan shall produce a total sum for distribution to General
     Unsecured Creditors (the “Unsecured Base Amount”). The Unsecured Base Amount shall be not less than the
     aggregate amount which creditors in this class would have received had the estate of the debtor been liquidated
     under Chapter 7 of Title 11, United States Code. See 11 USC §1325(a)(4). Each holder of a duly filed and
     allowed General Unsecured Claim shall receive the holder’s pro rata share of the Unsecured Base Amount, based
     on the creditor’s claim as a fraction of the total General Unsecured Claims duly filed and allowed. The pro rata
     dividend for each holder of an allowed unsecured claim will be calculated by the Trustee upon review of allowed
     claims.
     This Plan shall provide either the total Unsecured Base Amount or shall continue for the Plan Length as stated in
     Paragraph II.A of the Plan, whichever will offer the greater dividend to general unsecured creditors.
O.   VESTING, POSSESSION OF ESTATE PROPERTY AND LIEN RETENTION: Upon the Effective Date of the
     Plan, all property of the estate shall vest in the debtor and shall cease to be property of the estate. The debtor
     shall remain in possession of all property during the pendency of this case unless specifically provided herein, and
     shall not seek to sell, transfer or otherwise dispose of such property (except in the ordinary course of debtor’s
     business) without prior Court approval.
P.   SURRENDER OF COLLATERAL: Those claims that are treated pursuant to 11 USC §1325(a)(5)(C) (surrender
     of collateral) are so designated in Class 5.5 of the Plan. Upon confirmation, the Automatic Stay and co-debtor
     Stay is lifted as to the collateral and any creditor holding a lien on the collateral and the collateral shall no longer
     constitute property of the estate. No disbursements shall be made by the Trustee to any creditor whose claim is
     secured by the collateral being surrendered unless the holder of such claim files a Proof of Claim (or Amended
     Proof of Claim) after the Effective Date of the Plan setting forth the amount of any deficiency remaining after
     disposition of the collateral. Any allowed deficiency claim shall be paid as a general unsecured claim in Class 9 of


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     the Plan. See Federal Rule of Bankruptcy Procedure 3002.1.
Q.   PROHIBITION AGAINST INCURRING POST-PETITION DEBT: While this case is pending, the debtor shall not
     incur a debt in excess of $2,000.00 without first obtaining approval of either this Court or of the Chapter 13
     Trustee. If the Chapter 13 Trustee stipulates to entry of an Order allowing debtor to incur post-petition debt,
     debtor shall be permitted to file the Stipulation signed by the Trustee and to submit an Order to the Court on an ex
     parte basis without notice to creditors or other parties in interest.
R.   UNSCHEDULED CLAIMS: If an unscheduled proof of claim is filed, the Trustee is authorized to exercise sole
     discretion to classify the claim into one of the existing classes under this Plan and to schedule the claim for
     payment within that class, without prejudice to debtor’s right to object to the allowance of the claim and/or to
     modify the Plan to provide a different treatment.
S.   PROOFS OF CLAIM FILED AT VARIANCE WITH THE PLAN: In the event that a Proof of Claim is filed and
     allowed that is at variance with the provisions of this Plan, the following method is to be employed to resolve the
     conflict:
     1.        Subject to Section V(H), Regarding claims for which the Plan does not propose a "cramdown" or
               modification, the Proof of Claim shall supersede the Plan as to the claim amount, percentage rate of
               interest, monthly payments, valuation of collateral and classification of the claim. See also Paragraph G
               of the Additional Terms, Conditions and Provisions for additional information concerning payments to be
               made on these claims.
     2.        As to claims for which the Plan proposes a "cramdown" or modification, the Proof of Claim governs only
               as to the claim amount. The Plan governs valuation, interest rate and any other contractual term.
     3.        If a Proof of Claim is filed that is at variance with this Plan or related schedules, the Trustee shall
               automatically treat that claim as the holder indicated, unless provided otherwise in the confirmed Plan;
               these Additional Terms, Conditions and Provisions; or by Order of Court. See also Paragraph G of the
               Additional Terms, Conditions and Provisions for additional information concerning payments to be made
               on these claims.
     4.        As to claims specified in Class 3.1 or Class 3.2 (Secured Claims to be Stripped or Avoided), the Proof of
               Claim shall control only as to the allowed amount of the claim. See also Paragraph G of the Additional
               Terms, Conditions and Provisions for additional information concerning payments to be made on these
               claims.
T.   TAX RETURNS AND TAX SET-OFFS: All Tax Returns which have become due prior to the filing of the Plan
     have been filed. The Internal Revenue Service and the United States Department of Treasury are prohibited
     from setting off against post-petition Tax Refunds for payment of pre-petition tax obligations.
U.   DEBTOR DUTY TO MAINTAIN INSURANCE – REMEDY FOR FAILURE TO MAINTAIN INSURANCE: Debtor
     shall maintain all insurance required by law and contract upon property of the estate and the debtor's property.
     After confirmation of this Plan, if the debtor fails to maintain insurance as required by law or contract, any party in
     interest may submit a notice of default, served on debtor, debtor’s counsel and the Chapter 13 Trustee, permitting
     10 business days from service of the notice in which to cure the default. If the default is not cured within the time
     permitted, the party in interest may submit an Order Granting Relief from the Automatic Stay as to the collateral to
     the Court along with an affidavit attesting to the debtor’s failure to cure, and the Stay may thereafter be lifted
     without further motion, notice or hearing.
V.   SECURED CREDITORS, LESSORS AND PARTIES TO EXECUTORY CONTRACTS UPON ENTRY OF
     ORDER LIFTING AUTOMATIC STAY: Any secured creditor and any party to an assumed executory contract or
     unexpired lease as to whom the Automatic Stay is lifted shall not receive any further disbursements until a Proof
     of Claim for the balance remaining after liquidation of the collateral is filed.
W.   PROVIDING FUTURE TAX RETURNS TO TRUSTEE: Debtor shall timely file each Federal Income Tax Return
     required to be filed under applicable law during the pendency of this case, and shall provide to the Trustee a copy
     of each Return at the same time the Return is filed with the taxing authority.
X.   DEADLINES IN EVENT OF CONVERSION: In the event of conversion of this case to a case under Chapter 7 of
     the United States Bankruptcy Code, the rights of the Chapter 7 Trustee and all creditors (including but not limited
     to the right to object to exemptions and the right to object to discharge pursuant to 11 USC §727 and/or



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      dischargeability pursuant to 11 USC §523) will be determined pursuant to 11 U.S.C.§1307 and 11 U.S.C.§348,
      and F.R.Bank.P. 1019.
Y.    OBJECTIONS TO PROOFS OF CLAIM: Any party in interest shall have the right to object to Proofs of Claim.
      Confirmation of this Plan shall not constitute a waiver of any objection and shall not constitute or have any res
      judicata or collateral estoppel effect on or against any objection to Proof of Claim. If any objection to Proof of
      Claim is filed and sustained, in whole or in part, after the Trustee has begun making disbursements under this
      Plan as confirmed, Trustee shall have no obligation or duty to recoup any payments or disbursements made to the
      creditor whose Proof of Claim was the subject of the objection; unless otherwise ordered by the Court.
Z.    CREDITOR’S AUTHORIZATION TO CONTACT DEBTOR: Notwithstanding the provisions of the Automatic Stay
      and co-debtor Stay, creditors holding claims in Classes 4 and 5 for which the debtor proposes to retain the
      collateral and parties to any assumed unexpired lease or executory contract in Class 6 may contact debtor for
      purposes of sending periodic statements and annual or periodic summaries of accounts including but not limited
      to account reconciliations pursuant to the Real Estate Settlement Procedures Act.
AA.   IDENTITY OF DISBURSING AGENT: All claims in all classes of creditors shall be paid by the Trustee as
      Disbursing Agent except those claims which are specified to be paid directly by either the debtor or a third party,
      in which event the debtor or third party making those payments shall be the Disbursing Agent for those claims.
BB.   SPECIAL PROVISIONS APPLICABLE TO GOVERNMENTAL UNITS RESPONSIBLE FOR ENFORCING
      DOMESTIC SUPPORT OBLIGATIONS: Notwithstanding the provisions of 11 USC §362 and §1327, the
      Automatic Stay is modified to permit any governmental unit or agency responsible for enforcing a domestic
      support obligation to send notices, to take other actions to the extent not inconsistent with the terms of the Plan,
      and to collect domestic support obligations from property that is not property of the estate.
CC.   PRE- AND POST-PETITION LITIGATION AND CAUSES OF ACTION: Debtor and the Chapter 13 Trustee shall
      have concurrent standing to prosecute all Pre- and Post-Petition causes of action, including but not limited to
      actions arising under Title 11, United States Code. Any compromise or settlement of any litigation or cause of
      action shall be subject to the provisions of Federal Rule of Bankruptcy Procedure 9019. Any proceeds or
      damages recovered by or on behalf of the debtor shall be retained pending Order of the Bankruptcy Court.
DD.   SUBSTANTIVE CONSOLIDATION OF JOINTLY FILED CASES: If this case has been filed jointly by a husband
      and wife pursuant to 11 USC §302, entry of an Order Confirming Plan shall also constitute an Order for
      Substantive Consolidation of the debtors. This provision will not serve as res judicata or collateral estoppel as it
      relates to the Debtors rights to sever the case after confirmation of the Plan, by motion, notice and hearing to the
      Court.
EE.   NON-APPLICABILITY OF FEDERAL RULE OF BANKRUPTCY PROCEDURE 3002.1: The requirements and
      provisions of Federal Rule of Bankruptcy Procedure 3002.1 shall not apply to any property that the Plan as
      confirmed surrenders to the Creditor as provided in 11 USC §1325(a)(5)(C); or to any property as to which the
      Automatic Stay is lifted for purposes of allowing the secured creditor to exercise rights and remedies pursuant to
      applicable State Law, regardless of whether the Order Lifting Automatic Stay is entered before or after entry of an
      Order Confirming the Plan.
FF.   TIME TO CURE PARAMOUNT: For any class of claims where the Months to Cure From Confirmation Date may
      be specified, if the Plan does not specify the number of months to cure, the Months to Cure From Confirmation
      Date shall be the Plan Length specified in Paragraph II.A of the Plan. For any class of claims or creditors for
      which the Plan specifies an Estimated Average Monthly Payment that is inconsistent with or contradicts the
      Months to Cure From Confirmation Date, the Months to Cure From Confirmation Date controls. The Chapter 13
      Trustee is authorized to make any changes to the amount of disbursements to the creditor to implement this
      provision.
GG.   SECURED CLAIMS EXCLUDED FROM 11 USC § 506 BY THE “HANGING PARAGRAPH” AT THE END OF
      11 USC §1325 (a)(9): Claims treated in Class 5.3 or Class 5.4 are claims that were either (1) incurred within 910
      days before the petition date and secured by a purchase money security interest in a motor vehicle acquired for
      the personal use of the debtor, or (2) incurred within 1 year of the petition date and secured by a purchase money
      security interest in any other thing of value.




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